86 F.3d 1164
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Jose REYNOSO, Defendant-Appellant.
    No. 95-50238.
    United States Court of Appeals, Ninth Circuit.
    Submitted May 20, 1996.*Decided May 29, 1996.
    
      Before:  BROWNING, REINHARDT, and FERNANDEZ, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Jose Reynoso appeals his conviction and 104 month sentence, following a bench trial, for robbery of a postal carrier in violation of 18 U.S.C. § 2114.   Pursuant to Anders v. California, 386 U.S. 738 (1967), Reynoso's counsel filed a brief stating that he finds no meritorious issues for review.   Counsel also filed a motion to withdraw as counsel of record.   Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issue for review.   Accordingly, the motion for counsel to withdraw is GRANTED and the judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    